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 VIA ECF
 Honorable Claire C. Cecchi
 United States District Court for the District of New Jersey
 Martin Luther King, Jr. Bldg. & Courthouse
 50 Walnut Street
 Newark, NJ 07101

                                                    February 12, 2019

           Re: Proton-Pump Inhibitor Products Liability Litigation
               2:17-md-2789 (CCC)(MF) (MDL 2789)

 Dear Judge Cecchi:

        The PSC respectfully submits this letter in furtherance of the discussion with the Court and
 counsel for AstraZeneca at the January 11, 2019 Case Management Conference, regarding the
 issue of contacting former employees of Astrazeneca who reside overseas and who are not
 represented by counsel.

        As the Court may recall, there was some disagreement between AstraZeneca’s counsel and
 the PSC as to whether the PSC was prohibited from contacting these potential witnesses in those
 instances when AstraZeneca’s counsel was unable to locate the former employee or the former
 employee refused to communicate with AstraZeneca’s counsel and refuses to appear for a
 deposition. The Court asked the PSC to conduct some research into the issue, in hope of
 determining whether these former employees who are not represented by counsel and who
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 reside overseas can be contacted by the PSC or its designees. As set forth in more detail below,
 the answer to this question is yes.

 I.     Ex Parte Communication with Former Employees in Europe
 Question Presented: Can counsel for plaintiffs interview former employees of the defendants
 who reside in Switzerland, Sweden and the United Kingdom for the purposes of investigating this
 case?
 Answer:
          Yes, the PSC may contact former employees of AstraZenca living in Europe, however, for
 those former employees living in Switzerland, there are some limited restrictions on what can be
 discussed during such communications. For former employees living in Sweden and the United
 Kingdom, the PSC is permitted to contact former employees who are not represented without any
 restrictions. For former employees living in Switzerland, the PSC must be cognizant of the Swiss
 “blocking statute,” which prohibits collecting evidence in Switzerland for court proceedings
 abroad without lawful authority, which is reserved for Swiss officials. To this end, such contact in
 Switzerland should be limited to requests for information rather than the “collection” of evidence
 for use in court proceedings. Thus, even in Switzerland, there is nothing to prevent the PSC from
 contacting a former employee to inquire if they are willing to voluntarily speak with the PSC or
 give testimony in the United States.1

     A. General Principles Governing International Discovery
        The United States Supreme Court rejected the “extreme position that the Hague Evidence
 Convention ‘provides the exclusive and mandatory procedures for obtaining documents and
 information located within the territory of a foreign signatory.’” Societe Nationale Industrielle
 Aerospatiale v. U.S. Dist. Court for S. Dist. of Iowa, 482 U.S. 522, 529 (1987). The Hague
 Convention “does not modify the law of any contracting state, require any contracting state to use
 the Convention procedures, either in requesting evidence or in responding to such requests, or
 compel any contracting state to change its own evidence-gathering procedures.” Id., 534.
 Furthermore, a foreign nation’s “blocking statute” precluding disclosure of evidence does not
 deprive a U.S. court of power to order a party subject to its jurisdiction to produce evidence even
 though the act of production may violate the foreign blocking statute. Id., 543.

        Blocking statutes consist of “legislation that is specifically designed to prevent domestic
 individuals or corporations from having to comply with U.S. discovery production requests.”
 Kristen A. Knapp, Enforcement of U.S. Electronic Discovery Law Against Foreign Companies:



 1
  It is the law that a Swiss citizen can voluntarily give evidence outside of Switzerland, as Article 271
 prohibits only the "collection of evidence" in Swiss territory. A Swiss citizen can be contacted to
 determine whether he or she would be willing to come to New Jersey for a deposition because the Swiss
 citizen "is free to decide whether or not to collaborate and will not suffer any legal detriment by agreeing
 or refusing to reply to the information request." Blocking provisions: pitfalls to collecting evidence in
 Switzerland, Practical Law UK Articles 7-521-0202, August 2012.
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 Should U.S. Courts Give Effect to the EU Data Protection Directive?, 10 RICH. J. GLOBAL L.
 & BUS.. 111, 122 (2010). Such statutes traditionally prohibit “‘the disclosure, copying,
 inspection, or removal of documents located in the territory of the enacting state in compliance
 with orders of foreign authorities,’ and all such statutes ‘appear to carry some penal sanction.’” Id.
 (quoting RESTATEMENT (THIRD) OF FOREIGN RELATIONS LAW OF THE UNITED
 STATES § 442 n. 4 (1987)). Even statutes directly on point may be overcome if the comity factors
 favor discovery, however. Gucci Am., Inc. v. Curveal Fashion, No. 09 CIV. 8458 RJS/THK, 2010
 WL 808639, at *8 (S.D.N.Y. Mar. 8, 2010) (ordering production of documents protected by
 Malaysian banking laws, where the “documents are vital to the litigation, the requests are direct
 and specific, the documents are not easily obtained through alternative means, the interest of the
 United States outweighs that of Malaysia under the circumstances, and the likelihood that [third
 party bank] would face civil or criminal penalties is speculative”).

         Typically, foreign interests are implicated when there is court ordered discovery, and the
 majority of decisions interpreting Aerospatiale involve challenges to discovery procedures
 otherwise permitted by the Federal Rules of Civil Procedure, rather than ex parte communication
 with potential witnesses. Generally, it is the right of a party to conduct out-of-court interviews
 with an adverse party’s witnesses, and such “interviews may be conducted confidentially, without
 the presence of opposing counsel or reporter, whenever the person interviewed is willing to
 proceed in this manner.” Int’l Bus. Machines Corp. v. Edelstein, 526 F.2d 37, 44 (2d Cir. 1975)
 (holding restrictions on interviewing adverse witnesses impaired constitutional right to effective
 assistance of counsel). However, as discussed below, Switzerland’s blocking statute may be
 implicated even where contact with a witness is outside the formal discovery process.


     B. Blocking Statutes
             1. Switzerland
         Switzerland’s blocking statute is potentially triggered by ex parte communications with
 former employees of a party to litigation. Specifically, when contact with a former employee
 constitutes official collection of evidence, the blocking statute may be implicated, but a mere
 request for information does not trigger the blocking statute. Furthermore, a former employee
 from Switzerland who gives testimony in the U.S. would not violate the blocking statute because
 the blocking statute has a Swiss-territorial requirement and it is the law that a Swiss citizen can
 voluntarily give evidence outside of Switzerland, as Article 271 prohibits only the "collection of
 evidence" in Swiss territory

          “In Switzerland, Article 271 of the Swiss Criminal Code (Article 271) prevents an ‘official
 act’ from being performed on behalf of a foreign authority on Swiss soil. This can have the effect
 of blocking the collection of evidence located in Switzerland, which is intended for use in foreign
 proceedings.” Blocking provisions: pitfalls to collecting evidence in Switzerland, Practical Law
 UK Articles 7-521-0202, August 2012. There are four elements to a violation of Article 271 “(1)
 The act falls within the competence of a public authority;” “(2) The act is made in favour of a
 foreign state;” “(3) The act is made without authorization;” and “(4) The act occurs on Swiss
 territory.” Id.
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        Although ex parte communications are not technically “made in favour of a foreign state,”
 one commentator noted it is sufficient to satisfy the requirements of Article 271 if the act can “be
 used before or by the authority.” This appears to include being used “before” a court when
 considering evidence gathered from ex parte interviews, based on the above-cited Swiss Supreme
 Court ruling. “[T]he collection of documents in Switzerland in view of preparing a future trial
 could at least lead to an infringement of Article 271 by indirect intention….” Id.

         By contrast, it appears that:

         [A] collection of evidence prohibited by Article 271 can be distinguished from a
         mere request for information addressed to a non-litigant person based in
         Switzerland to obtain information or confirmation in relation to the position of a
         party. These types of situations could include:

                 Contact with a third party to determine whether [the third party] can be
                 included on a witness list.

                 Contact initiated with individuals located in Switzerland to get further
                 details on a dispute.

         In these circumstances the addressee of the request is free to decide whether or not
         to collaborate and will not suffer any legal detriment by agreeing or refusing to
         reply to the information request.

 Id. “As long as the addressee is free to collaborate without any impact on its legal situation, the
 request should not be deemed an official act falling within the scope of Article 271, provided the
 request relates to a mere request for information and not to collection of proper evidence.”

         Therefore, Swiss former employees are not in danger of violating the blocking statute by
 providing information to a requesting attorney, as long as the information they provide would not
 be an act that falls within the competence of a public authority or made by them for the purposes
 of use in foreign proceedings. Further, any testimony they provide in the United States would not
 meet the territorial requirements of the blocking act and, as a result, would not be subject to these
 limitations.

         Given all of the above, the PSC may contact a former employee in Switzerland to request
 his or her presence at a deposition in the United States and/or gather basic information from that
 former employee in Switzerland so long as the attorneys are not gathering such information as
 evidence to use in the litigation.
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            2. Sweden
         “Sweden has not adopted any additional blocking statutes in its national legislation.”
 Sweden – Central Authority (Art. 2) and practical information, Hague Conference on International
 Private Law (“HCCH”).2


              3. United Kingdom
          “In the U.K., although there are no blanket provisions prohibiting discovery, the U.K.
 Secretary of State has the authority under the Protection of Trading Interests Act 1980 (c. 11), a
 U.K. blocking statute, to give instructions precluding discovery in certain instances if it conflicts
 with the U.K.’s trading interests or infringes upon U.K. sovereignty.” The Impact on U.S.
 Discovery of EU Data Protection and Discovery Blocking Statutes, Hughes Hubbard, Jan 2013.
 However, the blocking power are specific to affirmative intervention by the UK Secretary of State.
 Protection of the Trading Interests Act 1980 Chapter 11.
          There is no relevant case law interpreting the statute, but it is very unlikely to apply here.
 First, the statute references only discovery. Plaintiffs would not be seeking formal discovery, if
 contacting these former employees who will not cooperate with defense counsel. And even if
 plaintiffs were seeking formal discovery, it is unlikely that the defendants could convince the U.K.
 Secretary of State that discovery in this case presents a conflict with U.K. trading interests or
 infringes on U.K. sovereignty.

       C. Data Protection Laws
        Neither the EU’s General Data Protection Regulation of 2018 (“GDPR”) nor the Swiss
 Federal Data Protection Act (“FDPA”) 3 prohibit counsel from contacting and interviewing
 witnesses.

       II.     U.S. Rules Governing Ex Parte Communication with Former Employees
         In determining the permissibility of contacts with former employees of a defendant, and
 with no apparent foreign prohibition, the Court should apply New Jersey’s Ethical Rules (which
 are the ABA model rules as revised by the NJ Supreme Court). Thus, so long as a former employee
 as not in the litigation control group and not represented by counsel, there is no ethical prohibition
 in contacting that former employee.4

 2
   Available at https://www.hcch.net/en/states/authorities/details3/?aid=522. The conclusion by the HCCH
 that Sweden has no blocking statutes in its national legislation is based on information “provided by the
 relevant State authorities or was obtained from the replies to the 2008 and/or 2013 Evidence Convention
 Questionnaires.” Id.

 3
     The Swiss FDPA is currently undergoing revisions to better conform with the GDPR.
 4
   Former agents and employees who were members of the litigation control group shall presumptively be
 deemed to be represented in the matter by the organization's lawyer but may at any time disavow said
 representation. N.J. Rules Prof’l Conduct R. 1.13(a) (emphasis added).
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         New Jersey ethics rules would be applied to a federal court located in New Jersey. “The
 Rules of Professional Conduct of the American Bar Association as revised by the New Jersey
 Supreme Court shall govern the conduct of the members of the bar admitted to practice in this
 Court, subject to such modifications as may be required or permitted by Federal statute, regulation,
 court rule or decision of law.” N.J.D.C. Civ. Rule 103.1(a).

           ABA Rule 8.5 was adopted and became effective in New Jersey in 2004 and reads: “the
 rules of professional conduct to be applied shall be: (1) for conduct in connection with a matter
 pending before a tribunal, the rules of the jurisdiction in which the tribunal sits, unless the rules
 of the tribunal provide otherwise.” N.J. Rules Prof’l Conduct R. 8.5(b). Accordingly, under the
 ABA and New Jersey’s Professional Conduct Rules, the law to be applied in a Federal Court
 situated in New Jersey is the New Jersey Rules of Professional Conduct.


         “Nothing in the Rules prohibits ex parte communications with a former employee
 who was not within the litigation control group and who is not otherwise represented by
 counsel.” Michaels v. Woodland, 988 F. Supp. 468, 472 (D.N.J. 1997).


        Under New Jersey Rules of Professional Conduct, no ethical hurdles prohibit an attorney
 from contacting a former employee of an adverse party where that former employee is not a
 member of the adverse party’s litigation control group and is not represented.


 Conclusion:

         In sum, where defense counsel has represented that they are unable to locate a former
 employee or that individual refuses to cooperate with defense counsel in scheduling a deposition,
 there is no prohibition on the PSC contacting that potential witness in Sweden or the United
 Kingdom, and only limited restrictions on how we may contact such individuals in Switzerland.
 Thus, in accordance with New Jersey’s ethical rules, the PSC intends to begin reaching out to
 former employees of Astrazeneca who reside in these three foreign countries to discuss deposition
 scheduling and any other matters that are permitted within the scope of the law, where
 AstraZeneca’s counsel has indicated he does not represent the witness, he cannot locate the
 witness, or where the witness refuses to cooperate with defense counsel in scheduling depositions.

         The PSC intends to begin these communication efforts on Thursday, February 14, 2019.
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                                       Respectfully submitted,


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 cc: All Counsel of Record (Via ECF)
